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                                 EXHIBIT 1
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Kleinman, Ben

From:                             Kleinman-Green, Ben
Sent:                             Monday, June 11, 2018 11:37 AM
To:                               'Ari Rafilson'; Dimitri Rizek
Cc:                               Blake Thompson; Boothe, Norris; Will Ellerman
Subject:                          RE: CyWee/Huawei: recapping today's call


Ari, we’re still reviewing with the client. But to help keep this moving, below is an outline of a possible new
schedule. I’ve highlighted a few dates that are close to US holidays. There’s also a week‐long holiday in China we’re
trying to keep in mind. While we determine IF we want to adjust the schedule, why don’t you provide some feedback
on the below so that we can get on the same page.

Thanks,
Ben


 Original Date       Modified Date         Task

 February 19,        April 9, 2019         *Jury Selection – 9:00 a.m. in Marshall, Texas before Judge Robert
 2019                                      Schroeder

 January 30,         March 20, 2019        *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge Roy
 2019                                      Payne

 January 17,         March 7, 2019         *Notify Court of Agreements Reached During Meet and Confer
 2019
                                           The parties are ordered to meet and confer on any outstanding
                                           objections or motions in limine. The parties shall advise the Court of
                                           any agreements reached no later than 1:00 p.m. three (3) business days
                                           before the pretrial conference.

 January 15,         March 5, 2019         *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
 2019                                      Proposed Verdict Form, Responses to Motions in Limine, Updated
                                           Exhibit Lists, Updated Witness Lists, and Updated Deposition
                                           Designations

 January 8, 2019     February 26, 2019 *File Notice of Request for Daily Transcript or Real Time Reporting.

                                           If a daily transcript or real time reporting of court proceedings is
                                           requested for trial, the party or parties making said request shall file a
                                           notice with the Court and e-mail the Court Reporter, Shelly Holmes,
                                           at shelly_holmes@txed.uscourts.gov.

 January 8, 2019     February 26, 2019 File Motions in Limine

                                           The parties shall limit their motions in limine to issues that if
                                           improperly introduced at trial would be so prejudicial that the Court
                                           could not alleviate the prejudice by giving appropriate instructions to
                                           the jury.

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January 4, 2019   February 22, 2019 Serve Objections to Rebuttal Pretrial Disclosures

December 21,      February 8, 2019   Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
2018                                 Disclosures

December 14,      February 1, 2019   Serve Pretrial Disclosures (Witness List, Deposition Designations, and
2018                                 Exhibit List) by the Party with the Burden of Proof

November 13,      December 28,       *File Motions to Strike Expert Testimony (including Daubert
2018              2018               Motions)

                                     No motion to strike expert testimony (including a Daubert motion)
                                     may be filed after this date without leave of the Court.

November 13,      December 28,       *File Dispositive Motions
2018              2018
                                     No dispositive motion may be filed after this date without leave of the
                                     Court.

                                     Motions shall comply with Local Rule CV-56 and Local Rule CV-
                                     7. Motions to extend page limits will only be granted in exceptional
                                     circumstances. Exceptional circumstances require more than
                                     agreement among the parties.

November 2,       December 21        Deadline to Complete Expert Discovery
2018

October 19,       December 7         Serve Disclosures for Rebuttal Expert Witnesses
2018

September 28,     November 16        Serve Disclosures for Expert Witnesses by the Party with the Burden
2018                                 of Proof

September 21,     November 9         Deadline to Complete Fact Discovery and File Motions to Compel
2018                                 Discovery

August 24,        October 12         Deadline to Complete Mediation
2018
                                     The parties are responsible for ensuring that a mediation report is filed
                                     no later than 5 days after the conclusion of mediation.

August 17,        October 5          Comply with P.R. 3-7 (Opinion of Counsel Defenses)
2018

August 10,        September 28       *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas before
2018                                 Judge Roy Payne

July 27, 2018     September 14,      *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)
                  2018

July 20, 2018     August 31, 2018    *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)


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 July 13, 2018       August 3, 2018        Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

 June 29, 2018       July 6, 2018 (4th     Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                     of July week,)        Submit Technical Tutorials (if any)

                                           Good cause must be shown to submit technical tutorials after the
                                           deadline to comply with P.R. 4-5(a).

 August 3, 2018      September 14,         Deadline to Substantially Complete Document Production and
                     2018                  Exchange Privilege Logs

                                           Counsel are expected to make good faith efforts to produce all required
                                           documents as soon as they are available and not wait until the
                                           substantial completion deadline.

 June 15, 2018       August 10, 2018       Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                                           Discovery)

 June 8, 2018        June 12, 2018         Comply with P.R. 4-3 (Joint Claim Construction Statement)


Ben Kleinman-Green
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bkleinman-green@kilpatricktownsend.com | My Profile | vCard

From: Ari Rafilson [mailto:arafilson@ShoreChan.com]
Sent: Monday, June 11, 2018 9:26 AM
To: Kleinman‐Green, Ben <BKleinman‐Green@kilpatricktownsend.com>; Dimitri Rizek <dimitri@warrenlex.com>
Cc: Blake Thompson <blake@themannfirm.com>; Boothe, Norris <NBoothe@kilpatricktownsend.com>; Will Ellerman
<wellerman@ShoreChan.com>
Subject: RE: CyWee/Huawei: recapping today's call

Ben and Dimitri,

Can you provide an update on Huawei’s position on the proposed extension today?

Thanks,

Ari

From: Kleinman‐Green, Ben <BKleinman‐Green@kilpatricktownsend.com>
Sent: Thursday, June 7, 2018 11:44 PM
To: Ari Rafilson <arafilson@ShoreChan.com>; Will Ellerman <wellerman@ShoreChan.com>
Cc: Blake Thompson <blake@themannfirm.com>; Dimitri Rizek <dimitri@warrenlex.com>;
nboothe@kilpatricktownsend.com
Subject: RE: CyWee/Huawei: recapping today's call

We can agree to push the 4‐3 statement to Tuesday. During the intervening time we will raise the issue of seeking the
trial continuance.

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I’m out of pocket most of the day tomorrow, so please include Norris (or the entire distribution list).

Thanks,
Ben

Ben Kleinman-Green
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From: Ari Rafilson [mailto:arafilson@ShoreChan.com]
Sent: Thursday, June 7, 2018 3:53 PM
To: Kleinman‐Green, Ben <BKleinman‐Green@kilpatricktownsend.com>; Will Ellerman <wellerman@ShoreChan.com>
Cc: Blake Thompson <blake@themannfirm.com>
Subject: RE: CyWee/Huawei: recapping today's call

Ben, Please see my corrections below in blue.

Thanks,

Ari

From: Kleinman‐Green, Ben <BKleinman‐Green@kilpatricktownsend.com>
Sent: Thursday, June 7, 2018 5:25 PM
To: Ari Rafilson <arafilson@ShoreChan.com>; Will Ellerman <wellerman@ShoreChan.com>
Cc: Blake Thompson <blake@themannfirm.com>
Subject: CyWee/Huawei: recapping today's call

Ari, Will,

I want to make sure we understand what you offered. Does this capture it?
     With 4‐3 (which you suggested could be continued to next week), each side provides descriptions of expert
          testimony consistent with the examples Dimitri sent earlier
Correct
     Briefing and claim construction hearing schedule remains unchanged
This is incorrect. My proposal is that we contact the Court to see if the Court is amenable to reset the trial date to
approximately 4‐6 weeks from the current date. If the Court agrees, the parties would submit a joint proposed schedule.
We recently did this in the Samsung case. The trial in our case will be moved anyway since CyWee v. Samsung is set for
the same date before the same Judge. If the Court is amenable to moving the trial date, we can finalize dates for an
amended proposed schedule, but the schedule would be changed so that (1) your responsive brief would be due
approximately three weeks after our opening brief, and (2) our reply brief would be due approximately three weeks
after your responsive brief. Other dates would move as well.
     We each have a three week window after the other side’s opening briefing (and declaration) to do the
          depositions
              o That means that we each might not be able to do relevant depositions until after briefing is complete
This is incorrect. Our proposal is that you can depose our expert anytime he is available after we submit his opening
declaration. We can depose your expert anytime he is available after you submit his declaration with your responsive
brief. Both parties would work together to ensure that their expert is available at a mutually agreeable time during the
three week window though.
     Rebuttal/responsive/amended declarations can be submitted with any reply briefs
Correct.

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     At the hearing, deposition testimony can be cited, even if not briefed
Correct.




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                                 EXHIBIT 2
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Kleinman, Ben

From:                             Ari Rafilson <arafilson@ShoreChan.com>
Sent:                             Tuesday, August 28, 2018 9:07 AM
To:                               Erika Warren; TeamCyweeHuawei
Cc:                               HuaweiCyWee; Mark Mann; Blake Thompson; 17-495@cases.warrenlex.com
Subject:                          RE: CyWee Group Ltd. v. Huawei Device Co. Ltd. et al., No. 17-495 (E.D. Texas)



Erika, We have a reporter that will be here in about 30 minutes. We can discuss timing in the event there is an
issue.



From: Erika Warren <erika@warrenlex.com>
Sent: Tuesday, August 28, 2018 11:03 AM
To: TeamCyweeHuawei
Cc: huaweicywee; Mark Mann; Blake Thompson; 17‐495@cases.warrenlex.com
Subject: CyWee Group Ltd. v. Huawei Device Co. Ltd. et al., No. 17‐495 (E.D. Texas)

Ari:


Thank you for letting me know. As you had previously discussed with Angela of our office, your firm failed to
secure a court reporter to take the deposition of Professor Welch. At your request, we have contacted a local
court reporting agency to see if they are able to send a reporter for CyWee; we'll let you know as soon as we
hear back.


As you know, the witness got up very early and presented himself for deposition at 7:45 a.m. this morning to
accommodate your requested start time of 8:00 a.m. Notwithstanding your firm's error in communication
with your reporter, we trust you will agree that Professor Welch's deposition cannot reasonably go beyond
5:00 p.m. today. In the unlikely event that you disagree, please let me know immediately.


Thank you,
Erika


‐‐
Erika Warren     erika@warrenlex.com        +1 (415) 895‐2927




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                                 EXHIBIT 3
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                                          4235

Kleinman, Ben

From:                              Michael Shore <mshore@ShoreChan.com>
Sent:                              Tuesday, August 28, 2018 9:12 AM
To:                                Erika Warren; TeamCyweeHuawei
Cc:                                HuaweiCyWee; Mark Mann; Blake Thompson; 17-495@cases.warrenlex.com
Subject:                           RE: CyWee Group Ltd. v. Huawei Device Co. Ltd. et al., No. 17-495 (E.D. Texas)


Erika,

CyWee will take Professor Welch’s deposition for the 7 hours allowed by the rules, if necessary. A mistake in scheduling
of a reporter is not a “Get Out of Deposition Free” card. If the witness cannot stay for the full length of the deposition,
he can be examined until he must leave. If that is too early for a full examination, then we can reconvene the deposition
tomorrow morning or via telephone. If Huawei ever had such a need, CyWee and its counsel would understand and
accommodate, not try to take unfair advantage as you are here.

MWS

From: Erika Warren <erika@warrenlex.com>
Sent: Tuesday, August 28, 2018 11:04 AM
To: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>
Cc: huaweicywee <huaweicywee@kilpatricktownsend.com>; Mark Mann <mark@themannfirm.com>; Blake Thompson
<blake@themannfirm.com>; 17‐495@cases.warrenlex.com
Subject: CyWee Group Ltd. v. Huawei Device Co. Ltd. et al., No. 17‐495 (E.D. Texas)

Ari:

Thank you for letting me know. As you had previously discussed with Angela of our office, your firm failed to secure a
court reporter to take the deposition of Professor Welch. At your request, we have contacted a local court reporting
agency to see if they are able to send a reporter for CyWee; we'll let you know as soon as we hear back.

As you know, the witness got up very early and presented himself for deposition at 7:45 a.m. this morning to
accommodate your requested start time of 8:00 a.m. Notwithstanding your firm's error in communication with your
reporter, we trust you will agree that Professor Welch's deposition cannot reasonably go beyond 5:00 p.m. today. In the
unlikely event that you disagree, please let me know immediately.

Thank you,
Erika

‐‐
Erika Warren    erika@warrenlex.com      +1 (415) 895‐2927




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                                EXHIBIT 4
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                                         4237

Kleinman, Ben

From:                              Michael Shore <mshore@ShoreChan.com>
Sent:                              Thursday, August 23, 2018 11:15 AM
To:                                Ari Rafilson; Kleinman, Ben
Cc:                                TeamCyweeHuawei; HuaweiCyWee; 17-495@cases.warrenlex.com
Subject:                           RE: CyWee v. Huawei: LaViola deposition


We are not producing Dr. LaViola repeatedly just so every Defendant can ask the same questions. Its abusive of him and
CyWee. If they have different questions to ask, they can provide them in writing.

From: Ari Rafilson
Sent: Thursday, August 23, 2018 1:14 PM
To: Kleinman, Ben <BKleinman@kilpatricktownsend.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; huaweicywee
<huaweicywee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Ben, We don’t have dates yet, and hope to propose dates next week. In the meantime please confirm that Dr. Welch’s
deposition can begin at 8 am as requested in the attached emails and confirm the address for the deposition.

Best Regards,

Ari

From: Kleinman, Ben <BKleinman@kilpatricktownsend.com>
Sent: Thursday, August 23, 2018 1:08 PM
To: Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; huaweicywee
<huaweicywee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Ari, following up. Please reply.

Thanks,
Ben

Ben Kleinman
Kilpatrick Townsend & Stockton LLP
Two Embarcadero Center | Suite 1900 | San Francisco, CA 94111
office 415 273 7568 | cell 415 894 5518 | fax 415 723 7122
bkleinman@kilpatricktownsend.com | My Profile | vCard

From: Kleinman, Ben
Sent: Monday, August 20, 2018 8:49 AM
To: 'Ari Rafilson' <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; HuaweiCyWee
<HuaweiCyWee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: CyWee v. Huawei: LaViola deposition


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       Case 2:17-cv-00495-WCB-RSP Document 94-2 Filed 09/04/18 Page 13 of 18 PageID #:
                                          4238
Ari,

Please let us know when and where you will make Dr. LaViola available for deposition the weeks of September 10 and
17.

Thanks,
Ben




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                                EXHIBIT 5
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                                          4240

Kleinman, Ben

From:                              Michael Shore <mshore@ShoreChan.com>
Sent:                              Tuesday, August 28, 2018 8:59 AM
To:                                Kleinman, Ben; Ari Rafilson
Cc:                                TeamCyweeHuawei; HuaweiCyWee; 17-495@cases.warrenlex.com
Subject:                           RE: CyWee v. Huawei: LaViola deposition


Ben,

We will seek a protective order, then. Please provide a day and time to conference formally on the issue per the Local
Rules.

Michael

From: Kleinman, Ben <BKleinman@kilpatricktownsend.com>
Sent: Tuesday, August 28, 2018 10:34 AM
To: Michael Shore <mshore@ShoreChan.com>; Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; huaweicywee
<huaweicywee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Michael,

We do not agree to limit the deposition as you propose. We will depose Dr. LaViola, as noticed, on any topics relevant
to the construction of the claims at issue in this case.

Ben

Ben Kleinman
Kilpatrick Townsend & Stockton LLP
Two Embarcadero Center | Suite 1900 | San Francisco, CA 94111
office 415 273 7568 | cell 415 894 5518 | fax 415 723 7122
bkleinman@kilpatricktownsend.com | My Profile | vCard

From: Michael Shore <mshore@ShoreChan.com>
Sent: Friday, August 24, 2018 9:31 AM
To: Kleinman, Ben <BKleinman@kilpatricktownsend.com>; Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; HuaweiCyWee
<HuaweiCyWee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Ben,

We are not opposed to providing a limited deposition of Dr. LaViola that covers things not included in any prior
depositions. If you will agree to limit he deposition to ONLY the content of the declarations filed in the Huawei case, we
will make him available. If you will not so agree, we will need to go to the Court and get some guidance. I am sure you
understand that we think having Dr. LaViola deposed 8 times on claims construction is absurd. We will of course make
him available to be fully deposed on any opinions related to infringement by the Huawei products at the appropriate


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time after expert reports on infringement or on Huawei’s affirmative defenses. But to say he can be deposed generally
on Markman is not reasonable.

Regards,

Michael

From: Kleinman, Ben <BKleinman@kilpatricktownsend.com>
Sent: Friday, August 24, 2018 11:27 AM
To: Michael Shore <mshore@ShoreChan.com>; Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; huaweicywee
<huaweicywee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Michael,

In light of, inter alia, the stipulation we reached and that the Court relied upon in entering the amended docket control
order (see Dkt. No. 70: “If Plaintiff submits an expert declaration or declarations, Plaintiff shall make Dr. Joseph LaViola
available for a deposition at a mutually agreed time at least one week before the deadline for Defendants to file their
Sur‐Reply Claim Construction Brief”) we are serving a notice of deposition for Dr. LaViola. An essential purpose of the
stipulation, as documented in the correspondence culminating in the stipulation and in the first “whereas” clause of Dkt.
No. 70, was to ensure that there was adequate time to take in‐person depositions of each other’s experts.

Unless you receive a signed protective order stating that we are not permitted to depose Dr. LaViola orally, we will take
the deposition as noticed.

Ben

Ben Kleinman
Kilpatrick Townsend & Stockton LLP
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office 415 273 7568 | cell 415 894 5518 | fax 415 723 7122
bkleinman@kilpatricktownsend.com | My Profile | vCard

From: Michael Shore <mshore@ShoreChan.com>
Sent: Thursday, August 23, 2018 11:14 AM
To: Kleinman, Ben <BKleinman@kilpatricktownsend.com>; Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; HuaweiCyWee
<HuaweiCyWee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Ben,

Dr. LaViola will not be deposed again. He has been deposed repeatedly already and we are willing to provide those
deposition transcripts. If Huawei has different questions to ask him than those asked by Samsung, CyWee will agree to
have him answer them in the form of a deposition on written questions.

If we need to move for a protective order, please let us know. But we are not going to potentially present Dr, LaViola for
up to 16 depositions of the same questions on the same issues. It is unduly burdensome and not supportable by any
particular need of any Defendant.

Michael

                                                             2
       Case 2:17-cv-00495-WCB-RSP Document 94-2 Filed 09/04/18 Page 17 of 18 PageID #:
                                          4242
From: Kleinman, Ben <BKleinman@kilpatricktownsend.com>
Sent: Thursday, August 23, 2018 1:08 PM
To: Ari Rafilson <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; huaweicywee
<huaweicywee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: RE: CyWee v. Huawei: LaViola deposition

Ari, following up. Please reply.

Thanks,
Ben

Ben Kleinman
Kilpatrick Townsend & Stockton LLP
Two Embarcadero Center | Suite 1900 | San Francisco, CA 94111
office 415 273 7568 | cell 415 894 5518 | fax 415 723 7122
bkleinman@kilpatricktownsend.com | My Profile | vCard

From: Kleinman, Ben
Sent: Monday, August 20, 2018 8:49 AM
To: 'Ari Rafilson' <arafilson@ShoreChan.com>
Cc: TeamCyweeHuawei <TeamCyweeHuawei@ShoreChan.com>; HuaweiCyWee
<HuaweiCyWee@kilpatricktownsend.com>; 17‐495@cases.warrenlex.com
Subject: CyWee v. Huawei: LaViola deposition

Ari,

Please let us know when and where you will make Dr. LaViola available for deposition the weeks of September 10 and
17.

Thanks,
Ben




Ben Kleinman
Kilpatrick Townsend & Stockton LLP
Two Embarcadero Center | Suite 1900 | San Francisco, CA 94111
office 415 273 7568 | cell 415 894 5518 | fax 415 723 7122
bkleinman@kilpatricktownsend.com | My Profile | vCard




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       Case 2:17-cv-00495-WCB-RSP Document 94-2 Filed 09/04/18 Page 18 of 18 PageID #:
                                          4243
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                                                                                 4
